    Case 17-24394-KCF          Doc 54    Filed 12/07/18 Entered 12/07/18 16:07:19                Desc Main
                                         Document     Page 1 of 2




     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)                          Order Filed on December 7, 2018
     DAMIEN NICHOLAS TANCREDI (DT 1383)                                                   by Clerk
                                                                                  U.S. Bankruptcy Court
     FLASTER/GREENBERG P.C.                                                        District of New Jersey

     Commerce Center
     1810 West Chapel Avenue
     Cherry Hill, NJ 08002-4609
     Attorneys for John W. Hargrave, Chapter 7 Trustee
     In re:
                                                               Case No. 17-24394-KCF
     Parabhsaran S. Nayar and Manjit K. Nayar,

                                    Debtors.                   Chapter 7



                                        ORDER AUTHORIZING
                                      SALE OF REAL PROPERTY

              The relief set forth on the following page, numbered two (2) and two (2), is hereby

     ORDERED.




DATED: December 7, 2018




     6721860 v2
Case 17-24394-KCF         Doc 54     Filed 12/07/18 Entered 12/07/18 16:07:19             Desc Main
                                     Document     Page 2 of 2
(Page 2)
Debtor:         Parabhsaran S. Nayar and Manjit K. Nayar,
Case No.:       17-24394-KCF
Caption:        ORDER AUTHORIZING SALE OF REAL PROPERTY



         After review of the Trustee’s Motion for authorization to sell real property located at 2

Fox Hollow Drive, Jackson, NJ 08527 (the “Motion” and the “Property”, respectively),

         IT IS hereby ORDERED as follows:

         1.     The Debtor is authorized to sell the Real Property on the terms and conditions of

the Agreement of Sale annexed to the Motion as Exhibits “A” and “B” pursuant to 11 U.S.C. §§

363(b) and 1303. Title to the Property shall be conveyed by both the Debtors and the Chapter 7

Trustee.

         2.     The proceeds of the Sale must be used to satisfy the liens on the Real Property

pursuant to the Carve Out (as defined in the Motion) and as set forth on Exhibit “A.”

         3.     The Sale of the Property is free and clear of liens, claims, and encumbrances

pursuant to 11 U.S.C. § 363(f) and such liens, claims, and encumbrances shall attach to the

proceeds of the Sale.

         4.     Commissions of; (i) $8,581.00 to the listing agent, Remax Barnegat Bay, (ii)

$8,581.00 to the selling agent Remax RE LTD, and (iii) $8,581.00 to the Trustee’s broker BK

Global may be paid at closing from the Sale.

         5.     Other closing fees payable by the Debtors may be satisfied from the proceeds of

the sale and adjustments to the price as provided for the contract of sale may be made at closing.




                                                  2
6721860 v2
